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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                       :              21cv0165(DLC)
OUR WICKED LADY LLC                    :
(d/b/a “Our Wicked Lady”); MICADO      :            NOTICE OF INITIAL
BROOKYN LLC (d/b/a/ “The Anchored      :           PRETRIAL CONFERENCE
Inn”); REGULARS LLC (d/b/a “Captain    :
Dan’s Good Time Tavern”); HAPPYFUN     :
HIDEAWAY INC. (d/b/a “Happyfun         :
Hideaway”); FLOWERS FOR ALL OCCASIONS :
INC.(d/b/a “Flowers for All Occasions :
Inc.); BARNOTH GROUP LLC (d/b/a“Grey   :
Lady”); 7 CORNELIA HOSPITALITY, LLC    :
(d/b/a“Uncle Chop Chop”); PARKSIDE BAR :
278 LLC (d/b/a “Palmetto”); ONE STOP   :
BEER SHOP LLC (d/b/a “One Stop Beer    :
Shop”); SCOTTOCASA INC. (d/b/a         :
“Scottocasa”); MODO YOGA NYC LLC       :
(d/b/a “Modo”); 732 TOWNIES INC.       :
(d/b/a “Twins Lounge”); 417 THROOP BAR :
LLC (d/b/a “The Coyote Club”); 713 BAR :
INC. (d/b/a “Carmelo’s”); QUE BONITA   :
INC. (d/b/a “The Narrows”); QUE BUENO :
INC. (d/b/a “Old Stanley’s Bar”);      :
MYRTLE VILLAGE LLC (d/b/a “Birdy’s”); :
HART BAR INC. (d/b/a “Hart Bar”); ALL :
NIGHT SKATE INC. (d/b/a “All Night     :
Skate Inc.”); LYONS DEN POWER YOGA LLC :
(d/b/a “Lyons Den Power Yoga”);        :
DENTHEREMIX LLC (d/b/a “Lyons Den      :
Power Yoga”); HEAVY WOODS LLC (d/b/a   :
“Heavy Woods”); WYCKOFF LLC (d/b/a     :
“Bonus Room”); VAN VLACK STRENGTH AND :
CONDITIONING LLC (d/b/a                :
“DiamondHeart/PCC”); MUSKET            :
HOSPITALITY LLC (d/b/a “Musket         :
Room”); 451 GRAHAM AVENUE CORP.        :
(d/b/a “The Richardson”); VENUE        :
TRIFECTA LLC (d/b/a “The Gradient”);   :
URBAN MANNING LLC (d/b/a “1080 Brew”); :
YES STUDIO LLC (d/b/a “The Yes         :
Studio”); BABY COBRA COALITION LLC     :
(d/b/a “The Cobra Club”); WE ARE 138   :
LLC (d/b/a “Sweet Jane’s”);            :
GAYSEAHORSE INC. (d/b/a “Olea          :
Mediterranean Tavern”); VANDERBERGEN   :
INC. (d/b/a “White Tiger”); THE        :
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SAMPLER BK LLC (d/b/a “The Sampler”);      :
BIG HUMBLE LLC (d/b/a “191                 :
Knickerbocker”); SOUTH SKIPS INC.          :
(d/b/a “Little Skips South”); 146          :
BROADWAY ASSOCIATES LLC (d/b/a “Babys      :
All Right”); JBDP STANTON CORP. (d/b/a     :
“Bonnie Vee”); BABALU LLC (d/b/a           :
“Mamajuana Café Bronx”); THE STEEL         :
MILL LLC (d/b/a “The Steel Mill”);         :
SALUD BAR & GRILL LLC (d/b/a “Salud        :
Bar & Grill”); MADE IN MEXICO              :
CORP.(d/b/a “Made in Mexico Harlem”);      :
NOTHING BUT NET LLC (d/b/a                 :
“Marco’s”); LUDO INC. (d/b/a “Paradise     :
Lounge”); SECRET PROJECT ROBOT GALLERY     :
LLC (d/b/a “Wonderville”); AURA COCINA     :
& BAR INC. (d/b/a “Aura”); TYP LLC         :
(d/b/a “Old Timers”); MOMO SUSHI INC.      :
(d/b/a “Momo Sushi Shack”); 303 CANARY     :
CLUB LLC (d/b/a “Canary Club”); SANTA      :
SALSA LLC (d/b/a “Santa Salsa”); CAJUN     :
PROJECT LLC (d/b/a “OTB”); GLO 718         :
CORP. (d/b/a “Parq Sports and Grill”);     :
HELL’S BELLS LLC (d/b/a “The               :
Broadway”); KETTLE PIE INC. (d/b/a         :
“Allswell”); BAR BOLINAS INC. (d/b/a       :
“Bar Bolinas”); NICEWONDER &               :
ASSOCIATES LLC (d/b/a “Purgatory”);        :
LITTLE MO LLC (d/b/a “Little Mo”);         :
SWEET BROOKLYN BAR LLC (d/b/a “Sweet       :
Brooklyn Bar”); LITTLE OUTPOST INC.        :
(d/b/a “Baby Skips”); SKIPS COVERT         :
CORP. (d/b/a “Little Skips East”);         :
HBAR HOLDING LLC (d/b/a ”Bleu Fin Bar      :
& Grill'');cFUEL PAX FOODS LLC (d/b/a      :
“Fuel Pax Foods”); CASA RESTAURANT &       :
LOUNGE INC. (d/b/a “Casa Restaurant &      :
Lounge”); RUBI 1909 CORP. (d/b/a           :
“RubiRosa Restaurant Bar”);                :
M&J CATERING CORP. (d/b/a “M& J            :
Catering”); EMMA’S BAR AND GRILL CORP.     :
(d/b/a “Emma Bar and Grill”); AVOCADOS     :
MEXICAN GRILL INC. (d/b/a “Avocados        :
Mexican Grill Restaurant”); ESKINA 214     :
CORP. (d/b/a “Café Tabaco y Ron”); HLS     :


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RESTAURANT INC. (d/b/a “Travesias      :
Restaurant”); LPD RESTAURANT INC.      :
(d/b/a “Cafe Colonial Restaurant”);    :
and VANTAGE POINT HOSPITALITY LLC;     :
FULTON AND LOGAN RESTAURANT LLC        :
(d/b/a “Gran Mar De Plata”); MON AMOUR :
COFFEE WINE INC. (d/b/a “Mon Amour     :
Coffee and Wine”), THE MAITE GROUP LLC :
d/b/a “Maite”) and YVES LLC (d/b/a     :
“Holy Ground”),                        :
                         Plaintiffs,   :
                -v-                    :
                                       :
ANDREW CUOMO, in his official capacity :
as Governor of the State of New York; :
STATE of NEW YORK; BILL de BLASIO, in :
his official capacity as Mayor of      :
New York City; and THE CITY of NEW     :
YORK,                                  :
                         Defendants.   :
                                       :
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DENISE COTE, District Judge:

     This case has been assigned to me for all purposes. Due to
the COVID-19 pandemic, the initial pretrial conference will be
held telephonically. Prior to the date of the conference,
counsel for all parties shall register as filing users in
accordance with the Procedures for Electronic Case Filing.

     Counsel for all parties are directed to participate in the
initial pretrial conference at the time and using the dial-in
instructions listed below. Counsel are directed to confer with
each other prior to the conference regarding settlement and each
of the other subjects to be considered at a Fed. R. Civ. P. 16
conference, and to prepare and file a detailed written proposed
schedule for any motions and discovery.

     If this case has been settled or otherwise terminated,
counsel are not required to participate in the conference,
provided that a stipulation of discontinuance, voluntary
dismissal, or other proof of termination is filed prior to the
date of the conference via e-mail to the Orders and Judgments
Clerk at the following e-mail address:
judgments@nysd.uscourts.gov.

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     All conferences with the Court are scheduled for a specific
time; there is no other matter scheduled for that time; and
counsel are directed to be available promptly. The attorney who
will serve as principal trial counsel must participate in the
conference.

     Requests for adjournment shall be made no later than four
business days before the conference and shall be made in a
letter filed on ECF in accordance with the S.D.N.Y. Electronic
Case Filing Rules and Instructions. The written submission must
(a) specify the reasons for the adjournment, (b) state whether
the other parties have consented, and (c) indicate times and
dates on succeeding Fridays when all counsel are available.
Unless counsel are notified that the conference has been
adjourned it will be held as scheduled.

     YOU ARE DIRECTED (i) TO SO NOTIFY ALL ATTORNEYS IN THIS
ACTION BY SERVING UPON EACH OF THEM A COPY OF THIS NOTICE AND
THE COURT'S INDIVIDUAL PRACTICES FORTHWITH, AND (ii) TO FILE
PROOF OF SUCH NOTICE WITH THE COURT. IF YOU ARE UNAWARE OF THE
IDENTITY OF COUNSEL FOR ANY OF THE PARTIES, YOU MUST FORTHWITH
SEND A COPY OF THE NOTICE AND PRACTICES TO THAT PARTY
PERSONALLY.

     DATE OF CONFERENCE: February 26, 2021 AT 3 P.M.

     The parties shall use the following dial-in credentials for
the conference.

            Dial-in:          888-363-4749
            Access code:      4324948

     The parties shall use a landline if one is available.

     SO ORDERED:

Dated:      New York, New York
            January 12, 2021

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                                            DENISE COTE
                                    United States District Judge




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